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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 ORANGEBURG DIVISION

Traci Abraham Thomas,                            )          C/A No. 5:20-3883-JMC-PJG
                                                 )
                              Plaintiff,         )
                                                 )
       v.                                        )                    ORDER
                                                 )
Randstad,                                        )
                                                 )
                              Defendant.         )
                                                 )

       This matter is currently before the assigned United States Magistrate Judge for a service of

process status review.    Plaintiff Traci Abraham Thomas, who is self-represented, filed her

Complaint on November 6, 2020. (ECF No. 1.) On January 28, 2021, the court issued an order

authorizing service and directing the Clerk of Court to issue the summons and provide the plaintiff

with the issued summons for service of process. (ECF No. 12 at 1.) As directed by the court’s

order, the Clerk of Court issued the summons pursuant to Federal Rule of Civil Procedure 4(b).

(ECF No. 13.) The plaintiff was specifically advised in the court’s order that, pursuant to Federal

Rule of Civil Procedure 4(m), she was responsible for service of process. (ECF No. 12 at 2.) The

court also advised the plaintiff that, pursuant to Federal Rule of Civil Procedure 4(m), service of

process must be effected on the defendant within 90 days. Review of the docket discloses that no

proof of service has been filed by the plaintiff as required under Federal Rule of Civil Procedure

4(l) with regard to the defendant. Thus, it appears that Defendant Randstad has not been served

with the Summons and Complaint.

       Accordingly, the plaintiff shall have until May 19, 2021 to provide the court with proof of

service of the Complaint upon the defendant in accordance with Federal Rule of Civil Procedure




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4(l)(1), or show good cause for failure to serve pursuant to Rule 4(m). Failure to do so will result

in this case being dismissed for failure to serve. Fed. R. Civ. P. 4(m).

       IT IS SO ORDERED.

                                              __________________________________________
May 5, 2021                                   Paige J. Gossett
Columbia, South Carolina                      UNITED STATES MAGISTRATE JUDGE




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